Case 1:21-cv-23190-FAM Document 34 Entered on FLSD Docket 09/19/2022 Page 1 of 19
                                                                                    1


       1                      UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
       2                             MIAMI DIVISION
       3                     CASE NUMBER 21-23190-CV-MORENO
       4   CARLOS EDUARDO MARRON, JANE DOE,
           C.R., a minor, and S.A., a minor,
       5
                          Plaintiffs,                        Courtroom 12-2
       6
              vs.                                            Miami, Florida
       7
           NICOLAS MADURO MOROS, FUERZAS                    August 30, 2022
       8   ARMADAS REVOLUCIONARIAS DE COLOMBIA,
           ("FARC"), et al.,
       9
                        Defendants.
      10   __________________________________________________________________
      11              PROCEEDINGS ON MOTION FOR DEFAULT JUDGMENT
                       BEFORE THE HONORABLE FEDERICO A. MORENO
      12                 SENIOR UNITED STATES DISTRICT JUDGE
           __________________________________________________________________
      13
           APPEARANCES:
      14
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Case 1:21-cv-23190-FAM Document 34 Entered on FLSD Docket 09/19/2022 Page 2 of 19
                                                                                    2


       1                            TABLE OF CONTENTS

       2                                                                    Page

       3

       4
           Reporter's Certificate ...................................... 19
       5

       6

       7

       8

       9
                                         EXHIBITS
      10
           Exhibits                            Marked for            Received
      11                                     Identification        in Evidence

      12   Description                        Page       Line       Page    Line

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      21

      22

      23

      24

      25
Case 1:21-cv-23190-FAM Document 34 Entered on FLSD Docket 09/19/2022 Page 3 of 19
                                 Hearing on Motion for Default Judgment

                                                                                          3


       1       (The following proceedings were held at 10:40 a.m.:)

       2            THE COURT:    Let's talk about a civil case where people

       3   are suing President Maduro.         I'm sorry you were waiting.

       4            Carlos Eduardo Marrón, Jane Doe, C.R., a minor, S.A., a

       5   minor, plaintiffs versus Nicolas Maduro Moros, Fuerzas Armadas

       6   Revolucionarias de Colombia, the FARC, the Cartel of the Suns,

       7   also known as Cartel De Los Soles, Vladimir Padrino Lopez,

       8   Maikel Jose Moreno Perez, Nestor Luis Reverol Torres, Tarek

       9   William Saab and Tareck El Aissami.

      10            On behalf of the plaintiffs, who do we have?

      11            MR. GUTTMAN:     Good morning, Your Honor.            Permission to

      12   remove my mask?

      13            THE COURT:     Sure.     You were here when I gave my --

      14            MR. GUTTMAN:     I was not.

      15            THE COURT:     -- description of anyone who is vaccinated

      16   wishes to remove it, you can do so.

      17            MR. GUTTMAN:     I was not.         Thank you, Your Honor.

      18            THE COURT:    I don't force people to be vaccinated, but

      19   if you are and you wish to do that, yes, sir.

      20            MR. GUTTMAN:     Yes, Your Honor.

      21            THE COURT:     Okay.     Who have you served?

      22            MR. GUTTMAN:     Jaime Guttman on behalf of the plaintiffs

      23   and I have together with me my co-counsel.

      24            THE COURT:     You look a little older than years ago.

      25            MR. GUTTMAN:     Your Honor, people age.
Case 1:21-cv-23190-FAM Document 34 Entered on FLSD Docket 09/19/2022 Page 4 of 19
                                 Hearing on Motion for Default Judgment

                                                                                              4


       1            THE COURT:     The beard.        Do you do that intentionally?

       2            MR. GUTTMAN:     After my father passed away a few years

       3   ago, it's a Jewish custom.

       4            THE COURT:     Oh, okay.       I'm sorry.

       5            MR. GUTTMAN:      I have co-counsel, Mr. Alex Lakatos --

       6            MR. LAKATOS:     Good morning, Your Honor.

       7            MR. GUTTMAN:      -- Ms. Julyana Dawson from Mayer Brown in

       8   Washington D.C., and here with us, Your Honor, we have the

       9   plaintiffs Maria Alejandra Marrón and Carlos Marrón.                  The minors

      10   are not in court, Your Honor.

      11            THE COURT:     Okay.     Now, who has been served?

      12            MR. GUTTMAN:     Your Honor, we served --

      13            THE COURT:    Nobody is here for the defense, obviously.

      14   I'm not surprised.    So what are we going to do with this case?

      15   How are you going to serve?         How are you going to collect?

      16            MR. GUTTMAN:     Great questions, Your Honor.               So we

      17   served already the Cartel of the Suns and the FARC.

      18            THE COURT:    How did you serve them?

      19            MR. GUTTMAN:     Through representatives that are

      20   currently in custody and that have been recognized as either

      21   members or leaders of the respective cartels.                  So in the case of

      22   the FARC, we served Mr. Pineda who has been served in other

      23   similar actions against the FARC, including actions in this

      24   court.

      25            THE COURT:     And judgments have been entered against
Case 1:21-cv-23190-FAM Document 34 Entered on FLSD Docket 09/19/2022 Page 5 of 19
                                    Hearing on Motion for Default Judgment

                                                                                               5


       1   them?

       2             MR. GUTTMAN:       And judgments have been entered against

       3   the FARC.

       4            THE COURT:       Who's the president of Colombia now?

       5             MR. GUTTMAN:       Mr. Petro who is a --

       6             THE COURT:      A former FARC member?

       7             MR. GUTTMAN:       Or leftist, correct.

       8               THE COURT:    Okay.      So how are you going to collect on

       9   them?   The clerk has already entered a default, right?

      10            MR. GUTTMAN:        So we have a default, Your Honor, against

      11   both the FARC and the Cartel of the Suns.

      12            THE COURT:       So what needs to be done?               You want a jury

      13   trial for that now?

      14            MR. GUTTMAN:        Well, Your Honor, so we believe that

      15   we're entitled to a default judgment as to both the Cartel of

      16   the Suns as well as the FARC.

      17            THE COURT:       And you want $75 million?

      18             MR. GUTTMAN:       Your Honor, we set forth the amount of

      19   damages in our calculation.            We submitted to the Court a brief

      20   recently with a similar case that came out of North Dakota

      21   against a Mexican cartel where the Court also recognized that in

      22   addition to the per diem, an increase based on inflation is

      23   proper in this case.        So we did --

      24            THE COURT:       Did that Court do it through an evidentiary

      25   hearing, through a jury trial or just by affidavits?
Case 1:21-cv-23190-FAM Document 34 Entered on FLSD Docket 09/19/2022 Page 6 of 19
                                   Hearing on Motion for Default Judgment

                                                                                            6


       1              MR. GUTTMAN:     No, Your Honor, so in that case in North

       2   Dakota, the recent case, they did have a hearing.

       3              THE COURT:     People testified?

       4              MR. GUTTMAN:     They did have, correct, an evidentiary

       5   hearing.

       6              THE COURT:    A jury trial is not required?

       7              MR. GUTTMAN:     A jury trial is not required on a

       8   default, Your Honor.       So it is 100 percent the discretion of the

       9   Court and different courts have addressed the issue differently.

      10   So, for example, in Caballero there was no trial.                Just one

      11   second.

      12              THE COURT:     Go ahead.        You've waited long enough, so

      13   I'm not rushing you.

      14              MR. GUTTMAN:     Thank you, Your Honor.

      15              THE COURT:     I'm sorry you had to --

      16              MR. GUTTMAN:     No, no, I understand.

      17              THE COURT:     We are the only generalist left.

      18              MR. GUTTMAN:     Understood.          So, Your Honor, different

      19   cases have approached it differently.                Caballero, which is also

      20   here in the Southern District of Florida, we don't believe that

      21   they had a trial.

      22              THE COURT:     Who was the judge there?

      23              MR. GUTTMAN:     That's Judge Moore, Your Honor.

      24              THE COURT:     Okay.     Were there affidavits?        Is that what

      25   they were?
Case 1:21-cv-23190-FAM Document 34 Entered on FLSD Docket 09/19/2022 Page 7 of 19
                                 Hearing on Motion for Default Judgment

                                                                                    7


       1            MR. GUTTMAN:      I need to double-check that.

       2            THE COURT:    All right.

       3            MR. GUTTMAN:     In the Pineda case, which is pending in

       4   the Middle District of Florida, an evidentiary hearing was

       5   conducted only as to the amount of damages.

       6            THE COURT:    And who testifies as to that?

       7            MR. GUTTMAN:      Your Honor --

       8            THE COURT:    Like in this case, who would testify as to

       9   that, the plaintiffs?

      10            MR. GUTTMAN:     Usually it's the plaintiffs and

      11   sometimes, depending on what the Court wishes to be presented

      12   with, you can have experts that testify as to the types and

      13   extent of the damages suffered by the plaintiffs.

      14            THE COURT:     All right.

      15            MR. GUTTMAN:     But the labor of the Court is simplified

      16   by the fact that many other courts have already addressed this

      17   very same issue as to the damages and they basically have a

      18   formula that goes pretty much per diem for the plaintiffs' days

      19   of --

      20            THE COURT:    Suffering?

      21            MR. GUTTMAN:     Well, the days that he was kidnapped and

      22   that he was imprisoned against --

      23            THE COURT:     So you get a final judgment against these

      24   two entities and then where do you go?

      25            MR. GUTTMAN:     So, Your Honor, we respectfully request
Case 1:21-cv-23190-FAM Document 34 Entered on FLSD Docket 09/19/2022 Page 8 of 19
                                 Hearing on Motion for Default Judgment

                                                                                             8


       1   that if the Court is inclined to grant us our Motion for Default

       2   Final Judgment, to do so --

       3            THE COURT:     What happens with the other defendants?

       4   What do I do with Maduro?

       5            MR. GUTTMAN:     We're going to try to serve him as well,

       6   Your Honor.

       7            THE COURT:     How do you serve the president of the

       8   Republic of Venezuela?

       9            MR. GUTTMAN:     Well, Your Honor, he's not the president

      10   and he hasn't been the president already for a couple of years.

      11   The United States Government executive branch does not recognize

      12   him as a president.

      13            THE COURT:     That's a good point.

      14            MR. GUTTMAN:     So he's not the president.

      15            THE COURT:    But he runs the country.                So how do you do

      16   that?

      17            MR. GUTTMAN:     So we already tried, Your Honor, in this

      18   case through the Hague Convention.             Venezuela refused to accept

      19   anything through the central authority.               We believe that we can

      20   try alternative methods of service of process.

      21            THE COURT:    Like what?

      22            MR. GUTTMAN:     Either publication or email service.

      23            THE COURT:     You have his email?

      24            MR. GUTTMAN:     Your Honor, we have been working

      25   diligently to find information.           Nonetheless, Your Honor --
Case 1:21-cv-23190-FAM Document 34 Entered on FLSD Docket 09/19/2022 Page 9 of 19
                                 Hearing on Motion for Default Judgment

                                                                                                9


       1            THE COURT:    And is there a deadline or do we just keep

       2   this -- this has been going on for a year.

       3            MR. GUTTMAN:     Your Honor, well, so one point before we

       4   get -- if I may, they're not required parties.                 They're not

       5   necessary parties.    The Court is at this point completely able

       6   to grant full relief as to the Cartel of the Suns and the FARC.

       7            THE COURT:     I got it, but I still have an open case.                 I

       8   don't like open cases, and you've come so far.                 I might as well

       9   find out what you're going to do with these other people.

      10            MR. GUTTMAN:     Your Honor, we filed already a Motion for

      11   Alternative Service of Process on a similar case that we have

      12   pending before Judge Gayles.         We intend to do the same here if

      13   the Court will allow us.

      14            THE COURT:     And that's for Maduro and also El Aissami

      15   and all those people?

      16            MR. GUTTMAN:     That would be for the individual

      17   defendants, Your Honor.

      18            THE COURT:    Because they're all in one form or another

      19   in the Government in Venezuela, right, or not?

      20            MR. GUTTMAN:     I wouldn't use the word "Government," but

      21   I would say in power.     They are controlling the country, Your

      22   Honor, yes, illegitimately.

      23            THE COURT:     Well, all right.           And then if I grant the

      24   Motion for Alternative Service, then it would be the same thing.

      25            MR. GUTTMAN:      So, Your Honor, in the case against -- in
Case 1:21-cv-23190-FAM Document 34 Entered on FLSD Docket 09/19/2022 Page 10 of 19
                                   Hearing on Motion for Default Judgment

                                                                                         10


       1   other cases, there's been different methods for service that

       2   have been allowed by the courts that are consistent with due

       3   process.    I mean, this case will not remove them from power,

       4   Your Honor, if that's your question.

       5              THE COURT:     Oh, I don't get involved in that.

       6              MR. GUTTMAN:     Correct.        So what we're seeking, Your

       7   Honor, is --

       8              THE COURT:    And express no opinion on that, obviously.

       9              MR. GUTTMAN:     Correct.        What we're seeking, Your Honor,

      10   is redress for the victims.

      11              THE COURT:     But wouldn't it be better to do it all at

      12   once as opposed to parcel it?            Your colleagues are shaking their

      13   heads no.

      14              MR. GUTTMAN:     Correct, Your Honor, because it's not

      15   necessary.

      16              THE COURT:     I know, but wouldn't it be better?

      17              MR. GUTTMAN:     No, Your Honor, because there's no double

      18   recovery anyway.    So if we end up serving the defendants, the

      19   individual defendants under the alternative methods of service

      20   of process and the Court ends up entering a judgment, the

      21   judgment will not be -- they will be joined and severally liable

      22   for the same judgment.        There will not be additional amounts on

      23   top of the amounts --

      24              THE COURT:     Well, how about if we set a deadline for

      25   service on these other individuals because I'd rather do it all
Case 1:21-cv-23190-FAM Document 34 Entered on FLSD Docket 09/19/2022 Page 11 of 19
                                    Hearing on Motion for Default Judgment

                                                                                                11


       1   together.    I don't like to divide things up.

       2               MR. GUTTMAN:      Your Honor, the issue that we have with

       3   that is -- and I understand and I appreciate the Court's

       4   concern -- A, justice delayed is justice denied.

       5               THE COURT:     I know.

       6               MR. GUTTMAN:     We are already entitled to a default that

       7   has been pending for about a year and the victims deserve that.

       8               THE COURT:    Well, that's because I didn't know what you

       9   all were going to do with the other defendants.                    It's not that I

      10   have forgotten.    It didn't fall through the cracks.

      11               MR. GUTTMAN:     Understood.

      12               THE COURT:     Hardly anything falls -- sometimes, but

      13   hardly anything in my chambers falls through the cracks, but the

      14   question is, where are we going with this?                    So normally I think

      15   you have 90 days to serve and then when you have the Hague

      16   Convention, you have forever to serve almost and it takes years

      17   to do that.     We can't ignore the political consequences when you

      18   sue leaders of a country, legitimate, illegitimate, from the

      19   left or the right, and I always, being the overly practical guy

      20   that I am, say, where are we going with this, though sometimes

      21   there are assets to seize?           But you usually need permission from

      22   the executive branch.        Sometimes the executive branch changes.

      23   State Department changes.           It's very complicated for you, but

      24   not for me, and I take no interest in it.                    My interest, though,

      25   is I have this case.        You're right, it's been sitting for a long
Case 1:21-cv-23190-FAM Document 34 Entered on FLSD Docket 09/19/2022 Page 12 of 19
                                    Hearing on Motion for Default Judgment

                                                                                       12


       1   time.   How do I make sure it doesn't sit here for a long time?

       2             MR. GUTTMAN:       So, Your Honor, we can perhaps deal with

       3   it in two different way, but just to address your concern about

       4   the State Department's involvement, we are suing them in their

       5   individual capacity.        There's no sovereign situation here, no

       6   sovereign immunity situation, no diplomatic situation, and the

       7   assets would not be -- there are no sovereign assets.             The

       8   assets --

       9             THE COURT:      You just want their individual wealth,

      10   wherever it is?

      11             MR. GUTTMAN:       Your Honor, the Treasury Department

      12   through OFAC has already frozen assets.

      13             THE COURT:      So you can't even get them.

      14             MR. GUTTMAN:       Well, Your Honor, that's why we're

      15   requesting the judgment to be specially compensatory damages

      16   under both the Federal ATA and the Florida ATA which would allow

      17   us to attempt to collect against those blocked assets.

      18             THE COURT:      You're entitled to collect.

      19             MR. GUTTMAN:       Under the ATA, correct, Your Honor.

      20               THE COURT:    But then we'd better cross every T and dot

      21   every I beforehand, right?

      22             MR. GUTTMAN:       Your Honor, we believe that we're doing

      23   so.   In our papers, we have submitted details to make sure that

      24   the Court has full comfort that all of the bases for awarding

      25   relief have been covered.           So we believe that we can proceed and
Case 1:21-cv-23190-FAM Document 34 Entered on FLSD Docket 09/19/2022 Page 13 of 19
                                   Hearing on Motion for Default Judgment

                                                                                              13


       1   that the Court will not be erring by entering judgment against

       2   the FARC and the Cartel of the Suns.

       3              THE COURT:     Since it's a default, no one would appeal

       4   anyway.

       5              MR. GUTTMAN:     Understood, Your Honor, but there's

       6   issues that can come up later in the collection phases.

       7              THE COURT:    Of course.

       8              MR. GUTTMAN:     And we do not want obviously to have

       9   obstacles and we can proceed on parallel tracks, not only on the

      10   collection efforts against the FARC and the Cartel of the Suns,

      11   but as well as on the alternative service of process.                  They have

      12   been avoiding it, Your Honor.            We've tried different things

      13   already.    Not only did we --

      14              THE COURT:    You haven't filed that motion yet, though?

      15              MR. GUTTMAN:     No, Your Honor, but I can tell the Court,

      16   if I may, the things that we have done already.                  So we tried

      17   already the Hague, and in addition I tried direct service of

      18   process in Venezuela which we did on the Albán case, another

      19   case pending before Judge Gayles.

      20              THE COURT:     What do you do, you go to their homes?

      21              MR. GUTTMAN:     No, Your Honor, so that's a process where

      22   you have to use a courier service, IPOSTEL, and you have to use

      23   a Venezuelan national ID to do so.               I was born in Venezuela, as

      24   the Court knows.    I use my -- our friends in Venezuela used my

      25   ID, my cedula de identidad, and my information to do that.
Case 1:21-cv-23190-FAM Document 34 Entered on FLSD Docket 09/19/2022 Page 14 of 19
                                  Hearing on Motion for Default Judgment

                                                                                               14


       1   After three individual defendants were served on the Albán case,

       2   I was apparently blacklisted and IPOSTEL refused to accept any

       3   parcels bearing my name or my ID.             We have been remiss to risk

       4   anyone in Venezuela to have their own IDs used.                   So we are thus

       5   only --

       6             THE COURT:    So what are you going to do?                See, I'm only

       7   asking -- I understand the difficulty of it.                    The question is,

       8   what do I do?     How long do I wait for service on the other

       9   defendants?

      10             MR. GUTTMAN:     Your Honor, we believe that we can do the

      11   alternative service of process under both the publication as

      12   well as the email.

      13             THE COURT:     When will you file that motion?               Give

      14   yourself a deadline.

      15             MR. GUTTMAN:     We can have that motion ready in 30 days,

      16   less than 30 days.

      17             MR. LAKATOS:     Thirty days.          And we would shoot for

      18   sooner.

      19             MR. GUTTMAN:     Thirty days.

      20             THE COURT:     Thirty days.         Okay.      So you'll do that by

      21   September 30th.    Fair enough?

      22             MR. GUTTMAN:     Yes, Your Honor.

      23             THE COURT:     Okay.     Then if I grant that motion, then

      24   what are you going to do?         You're going to give alternative

      25   service by what date?
Case 1:21-cv-23190-FAM Document 34 Entered on FLSD Docket 09/19/2022 Page 15 of 19
                                  Hearing on Motion for Default Judgment

                                                                                           15


       1             MR. GUTTMAN:     So, Your Honor, depending on what type of

       2   alternative service the Court grants --

       3             THE COURT:     Well, what kind of alternative service do

       4   you want?

       5               MR. GUTTMAN:   So we've seen --

       6             THE COURT:     It's always better to have more than one,

       7   by the way.

       8             MR. GUTTMAN:     Yes, Your Honor, fully agree.

       9             In a couple of the cases that we have seen against

      10   cartels, I believe in the case against the Cartel of the Juarez,

      11   the Juarez Cartel that came out, out of North Dakota this year,

      12   they used the website for publication as well.

      13             THE COURT:     Whose website?          The cartel has a website?

      14             MR. GUTTMAN:     No, Your Honor.            It's a website that has

      15   been used by different courts to allow service by electronic

      16   means and publication.       We can provide more details in our

      17   Motion for Alternative Service of Process.

      18             THE COURT:     Okay.     Do that and then I'll look at it and

      19   make a ruling after you file that.

      20               Then the chances are if that's permissible and I grant

      21   it, that in all likelihood a default is going to be granted

      22   against those individuals served, and then we will be in the

      23   same status as these plaintiffs are against the FARC and the

      24   others served and the cartel, right?

      25             MR. GUTTMAN:     That is correct, Your Honor, unless the
Case 1:21-cv-23190-FAM Document 34 Entered on FLSD Docket 09/19/2022 Page 16 of 19
                                  Hearing on Motion for Default Judgment

                                                                                            16


       1   Court wants to enter the judgment against the FARC and the

       2   cartel and we can start proceeding against them.

       3             THE COURT:     I hate having final judgments only on

       4   certain defendants and not others.

       5             MR. GUTTMAN:     Understood.

       6             THE COURT:     I kind of like to do it all together one

       7   way or another because that way it's clear what it is.               If it's

       8   jointly and severally -- you have waited this long.                A month

       9   here, a month there isn't going to make any difference in order

      10   to collect as long as we give ourselves a deadline, don't you

      11   think?

      12             MR. GUTTMAN:     Yes, Your Honor.            So if I may ask, if the

      13   Court grants, which we hope the Court will do so, our Motion for

      14   Alternative Service of Process and we end up with one of these

      15   methods in a month or two here before the Court, how would the

      16   Court like to proceed going forward once the default is entered

      17   against individual defendants?

      18             THE COURT:     I don't know yet.            I don't know yet, but

      19   obviously the summary proceedings that you are suggesting,

      20   seeing whether it's through some testimony or affidavit, the

      21   issue is what I think they deserve, and there's not going to be

      22   any cross-examination, but we just can't anticipate what I'm

      23   going to do.

      24             I will tell you we could do this if you wanted to file

      25   that motion and serve by electronic means or some other means
Case 1:21-cv-23190-FAM Document 34 Entered on FLSD Docket 09/19/2022 Page 17 of 19
                                    Hearing on Motion for Default Judgment

                                                                                             17


       1   more quickly, I envision the possibility of entering a final

       2   judgment even before September 30th, if I give you an even

       3   shorter deadline to file this motion.                 So in other words, if you

       4   file your Motion for Alternative Service now, you know, right,

       5   now at the beginning of September, right before the Labor Day

       6   weekend, right, by Friday, you file that --

       7             MR. LAKATOS:       Just make it happen, yes, sir.

       8               THE COURT:    -- if I grant it, and other courts have

       9   done it, obviously, these people are at least avoiding, if not

      10   evading service -- I can't say more than that until you file the

      11   motion -- and if it's done electronically and you're not going

      12   to have someone using someone's ID in Caracas trying to serve

      13   this, that's not the way it's going to be done for the security

      14   concerns, I understand that, and thus, with that, it could be

      15   done quickly and then I can decide whether affidavits are

      16   sufficient with the formula that you've described.                 I probably

      17   don't have to make you or -- your clients obviously live here,

      18   right?

      19             MR. GUTTMAN:       They do, Your Honor.

      20             THE COURT:      Okay.      I assume.        Then we could do that and

      21   it could be done before the end of the month.

      22             My preference would be to deal with all of them, if

      23   they're similarly situated, at the same time jointly and

      24   severally, whether it includes Maduro, El Aissami, everyone

      25   together.
Case 1:21-cv-23190-FAM Document 34 Entered on FLSD Docket 09/19/2022 Page 18 of 19
                                   Hearing on Motion for Default Judgment

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       1              MR. GUTTMAN:     All their friends.

       2              THE COURT:     I mean, I don't know.              All I know,

       3   sometimes the media is right, sometimes the media is wrong.                  So

       4   we don't know, but I think it's easier to do it all together.

       5   And I'm willing to be able to do this before the end of the

       6   month if you're willing to do it quickly, too.

       7              MR. GUTTMAN:     We will work hard.

       8              THE COURT:     Okay.     So file it by Friday and I will rule

       9   in early September and we'll have this done one way or another,

      10   for or against, by the end of September.                  How's that?

      11              MR. GUTTMAN:     That sounds great, Your Honor.              Thank you

      12   so much.

      13              THE COURT:     It was probably worth the wait, huh?

      14              All right.     Anything else?

      15              MR. GUTTMAN:     I appreciate it.            Thank you, Your Honor.

      16              THE COURT:     Okay.     I look forward to seeing everything.

      17   If you file the affidavits with all the description and the

      18   cases with the formula per day, that would be very helpful.

      19              MR. GUTTMAN:     Will do, Your Honor.

      20              THE COURT:     Because then it gives me the support.              We

      21   don't need -- it seems initially it would be ridiculous to have

      22   people -- only if you wanted a jury, which you will have people

      23   testify, so that the jurors can have an idea and sometimes

      24   things work out.    I mean, I still remember the Brothers to the

      25   Rescue case, where I thought it wasn't going to go anywhere and
Case 1:21-cv-23190-FAM Document 34 Entered on FLSD Docket 09/19/2022 Page 19 of 19
                                                                                     19


       1   it went because they had assets.       But whether it's collectible

       2   or not, it's not my business, it's yours.

       3              MR. GUTTMAN:    Understood, Your Honor, and that's why we

       4   are going to reassert the request that we be granted

       5   compensatory damages, especially the compensatory damages under

       6   the ATA and the Florida ATA.

       7              THE COURT:    Okay.   All right.    Thank you.

       8              MR. GUTTMAN:    Thank you, Your Honor.

       9              THE COURT:     Sorry you had to wait.    Nice seeing you

      10   all.

      11              MR. GUTTMAN:    Likewise.

      12              MR. LAKATOS:    Thank you, Your Honor.

      13              THE COURT:     Have a good day.     Looks like some things

      14   become better, some things become worse.         That's our lives.

      15              THE COURT SECURITY OFFICER:        All rise.

      16              THE COURT:    We are in recess.

      17          (The hearing concluded at 11:03 a.m.:)

      18                           C E R T I F I C A T E

      19              I hereby certify that the foregoing is an accurate

      20   transcription of proceedings in the above-entitled matter.

      21

      22   ________________
             09-18-22                   _______________________________________
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